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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE

Robert Banks
     v.                                   Civil No. 10-cv-269-JL
Mark Hall et al.
                                SUMMARY ORDER
     Plaintiff Robert Banks has sued six different troopers of

the New Hampshire State Police, claiming that, when they arrested

him following a high-speed car chase, they subjected him to

excessive force in violation of the Fourth Amendment, as well as

common-law battery and intentional infliction of emotional

distress.1     After Banks exited his vehicle at the end of the

chase, he was bitten by a police dog, “Tasered,” and, he says,

kicked by the troopers.        The defendants have moved for summary

judgment, see Fed. R. Civ. P. 56, on all of Banks’s claims.              This

court has subject-matter jurisdiction under 28 U.S.C. §§ 1332

(federal question) and 1367 (supplemental jurisdiction), and

heard oral argument on the troopers’ motion on August 8, 2012.

     There is a stark factual dispute at the core of this case:

Banks has testified that at the conclusion of the police chase,

he immediately exited his vehicle with his hands in the air and

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      Banks also sued the troopers under N.H. Rev. Stat.
§ 466:19, which imposes liability on the owner, keeper, or
possessor of a dog for damages it causes, but, at oral argument,
conceded that summary judgment for the defendants was appropriate
on this claim.
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lay face-down on the ground with his hands behind his back, while

one or more of the defendants have testified that Banks ran from

his vehicle and, after being taken to the ground by the dog,

continued to struggle with the officers as they attempted to

handcuff him.     Nevertheless, the troopers have moved for summary

judgment, arguing principally that (1) Banks has no competent

evidence that certain troopers personally subjected him to any

actionable force, and (2) while the other troopers have admitted

to employing force against Banks in the form of the dog and the

Tasers, they are entitled to qualified immunity.           The court will

briefly address these two arguments in reverse order.

       Qualified immunity.     Two of the defendants, Troopers Lima

and Cedrone, acknowledge using Tasers on Banks, while another

defendant, Trooper Hall, acknowledges loosing the police dog on

him.    They do not argue that a reasonable officer in their

position would have believed these actions were constitutionally

permissible if, as Banks has testified, he had just immediately

exited his car with his hands in the air and lay face down with

his hands behind his back.       Instead, they argue that, even if

that is what Banks in fact did, the defendants mistakenly

perceived him to have been running from his vehicle--a mistake

which they attribute to the fact that the encounter occurred at

night in a poorly lit area.       If they reasonably believed Banks



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was trying to flee, the defendants explain, then they also

reasonably believed it was appropriate to use the dog and the

Tasers in apprehending him.

     The problem with this theory is that a rational finder of

fact could conclude, in light of Banks’s testimony that he

immediately prostrated himself upon exiting his vehicle, that it

was unreasonable for the defendants to believe that Banks was

actually fleeing instead.     If it was unreasonable for the

defendants to believe that Banks was fleeing, or doing anything

else to justify using the dog and the Tasers against him, it

follows that it was unreasonable for them to believe that using

the dog and the Tasers was permissible.        Accordingly, the dispute

of fact at the center of this case--what Banks did when he exited

the vehicle--precludes summary judgment for the defendants on the

basis of their qualified immunity defense.

     Personal involvement in use of force.        Troopers Campo,

Ditolla, and Lavoie have testified that they did not personally

apply any force to Banks.     Campo and Ditolla say they handcuffed

Banks, which he has not claimed was excessive under the

circumstances, while Lavoie says that he did not even come into

physical contact with Banks during the arrest.         Banks has

testified that, while he was kicked during his arrest, he cannot

identify the particular trooper who kicked him.         Thus, Troopers



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Campo, Ditolla, and Lavoie argue, they are entitled to summary

judgment on all of the claims against them, since Banks has

presented no evidence that they personally used any force against

him, by kicking him or otherwise.

     Banks argues that, despite this gap in his proof, he can

hold Campo, Ditolla, and Lavoie liable for excessive force

because they failed to intervene to prevent the troopers who

kicked him--whoever they were--from doing so.         “[A]n officer who

is present at the scene of an arrest and who fails to take

reasonable steps to protect the victim of another officer’s use

of excessive force can be held liable under section 1983 for his

nonfeasance, provided that he had a realistic opportunity to

prevent the other officer’s actions.”       Martinez v. Colon, 54 F.3d

980, 985 (1st Cir. 1995) (quotation marks and bracketing

omitted).   Here, viewing the record in the light most favorable

to Banks and drawing all reasonable inferences in his favor, his

arrest lasted 10 minutes and provided all of the troopers at the

scene with ample opportunity to prevent those among them--again,

whoever they were--from kicking Banks (and, even though all of

the troopers have denied striking Banks, a rational trier of fact

could find that at least one trooper did, based on Banks’s

testimony that he was kicked).      Banks’s inability to identify a




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trooper who personally kicked him, then, does not entitle any of

the troopers to summary judgment.

     State-law claims.    The defendants also move for summary

judgment on Banks’s state-law claims for battery and intentional

infliction of emotional distress.       As discussed at oral argument,

by virtue of a New Hampshire statute conferring immunity on

police officers for damages caused by police dogs, Hall is

entitled to summary judgment on the battery claim against him

insofar as that claim arises out of his use of the dog.           See N.H.

Rev. Stat. Ann. § 508:18-a.     The defendants are also entitled to

summary judgment on Banks’s claim for intentional infliction of

emotional distress because, even if the defendants’ conduct

amounted to excessive force, no rational factfinder could deem it

“atrocious, and utterly intolerable in a civilized society.”

Mikell v. Sch. Admin. Unit No. 33, 158 N.H. 723, 728 (2009); see

also Thompson v. Williamson County, Tenn., 965 F. Supp. 1026,

1038 (M.D. Tenn. 1997), aff’d, 219 F.3d 555 (6th Cir. 2000).

     For the foregoing reasons, the defendants’ motions for

summary judgment (document nos. 25-30) are GRANTED as to Banks’s

claims for violation of the dog bite statute and intentional

infliction of emotional distress, as well as his battery claim

against Hall insofar as it arises out of his use of the police

dog, but are otherwise DENIED.



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      SO ORDERED.



                                   Joseph N. Laplante
                                   United States District Judge
Dated: August 9, 2012
cc:   Scott F. Gleason, Esq.
      Thomas J. Gleason, Esq.
      Kevin H. O’Neill, Esq.
      Mary Ann Dempsey, Esq.
      John C. Vinson, Esq.




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